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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

CAYMAN SECURITIES CLEARING
AND TRADING LTD; THE HURRY                            CASE NO.: 8:18-cv-02869-VMC-CPT
FAMILY REVOCABLE TRUST;
SCOTTSDALE CAPITAL ADVISORS
CORPORATION; ALPINE SECURITIES
CORPORATION,

       Plaintiffs,

vs.

CHRISTOPHER FRANKEL,

      Defendant.
___________________________________/

           RESPONSE AND INCORPORATED MEMORANDUM OF LAW IN
                  OPPOSITION TO DEFENDANT’S MOTION TO
              DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT1

       Plaintiffs, Cayman Securities Clearing and Trading LTD, the Hurry Family Revocable

Trust, Scottsdale Capital Advisors, and Alpine Securities Corporation (collectively the “Hurry

Parties”), respond in opposition to Defendant Christopher Frankel’s (“Frankel”) Motion to Dismiss

Plaintiffs’ First Amended Complaint (“Motion”) [Doc. 38], as follows:

I.     PLAUSIBLY ALLEGED FACTS

       On November 21, 2018, the Hurry Parties commenced this action to stop and remedy

Frankel’s continuing use of their proprietary information and to remedy their losses. [Doc. 1].

Frankel did not seek to dismiss the original complaint, although he did file a Motion for Bond

Under section 501.211(3) (the “Bond Motion”), claiming the lawsuit was frivolous. [Doc. 16]. On




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  Defendant’s Motion should have been titled a partial motion to dismiss because it does not
address the Hurry Parties’ breach of contract claims.
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January 15, 2019, the Court denied Frankel’s Bond Motion and his Request for Oral Argument

and Evidentiary Hearing. [Doc. 31].

       On February 11, 2019, the Hurry Parties moved for leave to amend their Complaint

[Doc. 34] to ensure the proper parties were seeking to enforce the proper written agreements with

the Defendant. The Defendant opposed the amendment [Doc. 35], arguing there were “no facts

demonstrating the plaintiffs have meritorious, plausible claims.”

       On February 26, 2019, the Court granted the Hurry Parties leave to amend, and they filed

the operative FAC. [Doc. 36, 37].

       On March 12, 2019, Frankel filed the current Motion. [Doc. 38]. The Motion seeks to

partially dismiss the FAC; it does not seek the dismissal of the Hurry Parties’ breach of contract

claims. (Doc. 38 at 6-9 & 14-15). The Motion only attacks the Hurry Parties’ claims for violation

of the Defend Trade Secrets Act, violation of the Florida Uniform Trade Secret Act (“FUTSA”),

and violation of the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”). (Id.).

       The Motion should be denied because the Hurry Parties plausibly allege Frankel

misappropriated their confidential and trade secret information. Further, the FUTSA claim does

not preempt the FDUTPA claim because the FUTSA claim is based on Frankel’s

misappropriation of information whereas their FDUTPA claim is based upon Frankel’s use of

the information.

II.    PLAUSIBLY ALLEGED FACTS

       From August 2015 through October 2018, Defendant worked for Alpine Securities

Corporation (“Alpine”), a full service broker-dealer, as a high-level employee. (First Amended

Complaint (“FAC”) [Doc. 37], ¶¶ 11-12). As part of his employment, Frankel was exposed to and

entrusted with information that is commercially valuable to Alpine and the other Hurry Parties.




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(Id. at ¶¶ 13 & 23). To ensure that this information remained secret and was not used outside the

scope of Frankel’s employment, the Hurry Parties and Frankel entered into two written

nondisclosure agreements (the “NDAs”). (Id. at ¶¶ 13-22, Exhs. 1-2).

        Frankel left Alpine in October 2018, and Hurry Parties soon thereafter learned that Frankel

was using their confidential information and trade secrets for the benefit of his new business

ventures. (Id. at ¶¶ 23-24). Specifically, Frankel was using confidential information about

Alpine’s clients, finances, financial relationships, and business practices to solicit capital, establish

banking relations, and recruit clients of the Hurry Parties so that he could purchase his own broker-

dealer and compete with the Hurry Parties’ businesses. (Id. at ¶ 24).

III.    STANDARD OF REVIEW FOR MOTION TO DISMISS

        A motion to dismiss cannot be granted if the allegations in the complaint, when taken as

true and construed in the light most favorable to the plaintiff, “state a claim to relief that is plausible

on its face.” DynCorp Int'l v. AAR Airlift Grp., Inc., 664 F. App'x. 844, 847 (11th Cir. 2016) (citing

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “Factual allegations must be enough to raise a right

to relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007);

Simpson v. Sanderson Farms, Inc., 744 F.3d 702, 708 (11th Cir. 2014) (this requires “more than

labels and conclusions, and a formulaic recitation of the elements of a cause of action” but does

not rise to the level of “detailed factual allegations”). When deciding a motion to dismiss, the

court must limit its consideration to well-pleaded factual allegations, documents central to or

referenced in the complaint, and matters judicially noticed. Lowe v. STME, LLC, 354 F. Supp. 3d

1311 (M.D. Fla. 2019).




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IV.    MISAPPROPRIATION OF TRADE SECRETS CLAIMS ARE PLAUSIBLY
       ALLEGED

       Misappropriation claims under the Defend Trade Secrets Act and the FUTSA are

sufficiently pleaded if the complaint: (A) identifies the information misappropriated, (B)

establishes that the information is protected, and (C) describes how and when the defendant

misappropriated the information. Trinity Graphic, USA, Inc. v. Tervis Tumbler Co., 320 F. Supp.

3d 1285, 1293 (M.D. Fla. 2018) (Defend Trade Secrets Act); DynCorp Int’l v. AAR Airlift Group,

Inc., 664 F. App’x at 849–50 (FUTSA). The FAC satisfies these requirements.

       A.      The FAC Sufficiently Identifies The Information Misappropriated

       In order to sufficiently “identify the information misappropriated,” a plaintiff “need only

allege sufficient facts to plausibly show a trade secret was involved and to give the defendant

notice of the material it claims constituted a trade secret.” DynCorp Int'l, 664 F. App'x. at 848

(citing Twombly, 550 U.S. at 555–56.) While this requires more than “broad categories of

information, such as financial and technical data,” the plaintiff is not obligated to identify each

trade secret with reasonable particularity. DynCorp Int'l, 664 F. App'x. at 848.

       Frankel’s Motion cites to DynCorp Int'l, in which the plaintiff sufficiently identified the

information misappropriated by stating:

                “[t]he trade secrets obtained by AAR included confidential and
               proprietary [DynCorp] financial and technical data relating to the
               Incumbent [WASS] Contract, such as lists of the personnel
               employed by [DynCorp] to provide services under the Incumbent
               Contract, the salaries and pay differentials for those personnel on the
               Incumbent Contract, other pricing and financial data about
               [DynCorp's] performance on the Incumbent Contract, and technical
               data about [DynCorp's] staffing approach and business operations
               pertaining to the Incumbent Contract.”

664 F. App'x at 848. Here, the FAC identifies the information misappropriated in a similar

manner:



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               “Beginning in or about June 2015, and continuing through
               September 2018, Defendant received confidential information from
               each of the Hurry Parties, including inter alia, the Hurry Parties’
               business practices, financial relationships and terms of those
               relationships, client lists, pricing information, and private financial
               information of the Hurry Parties and their clients. [¶]
               Frankel used “confidential information obtained from the Hurry
               Parties to solicit capital, establish banking relations, recruit clients
               of the Hurry Parties, and compete with the Hurry Parties’
               businesses.”

(FAC, ¶¶ 23-24).

       The Hurry Parties did not plead that Frankel “broad categories of information.” They

specified Frankel misappropriated certain types of confidential financial information and the terms

of the Hurry Parties’ relationships with financial institutions, as well as business practices, client

lists, and pricing information. (Id.).

       The FAC adequately identifies the information Frankel misappropriated to the extent

required at the dismissal stage. Consequently, the Motion should be denied.

       B.      The FAC Sufficiently Alleges The Information Frankel Misappropriated Is
               Protected

       To sufficiently plead that information is protected, a plaintiff need only allege that it took

reasonable steps to maintain the secrecy of the information. Am. Registry, LLC v. Hanaw, No.

2:13-CV-352-FTM-29, 2013 WL 6332971, at *3 (M.D. Fla. Dec. 5, 2013). “[W]hether a party has

taken reasonable steps under the circumstances to preserve its trade secrets is a factual inquiry that

cannot be resolved on a motion to dismiss.” Treco Int'l S.A. v. Kromka, 706 F. Supp. 2d 1283,

1287 (S.D. Fla. 2010).

       Courts routinely hold that a complaint sufficiently alleges information is protected by

stating the plaintiff instructed persons to maintain the confidentiality of the information or to sign

nondisclosure agreements regarding such information. See e.g., Supercase Enter. Co. v. Marware,




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Inc., No. 14-CV-61158-CIV, 2015 WL 11622424, at *7 (S.D. Fla. Oct. 26, 2015); Treco Int'l S.A.,

706 F. Supp. 2d at 1287. Here, the FAC alleges Frankel signed two NDAs that required him to

“keep all Confidential Information strictly confidential by using a reasonable degree of care

[and]… not disclose any Confidential Information received by [him] to any third parties.” (FAC,

¶¶ 13-22 & Exhs. 1-2). The second NDA required Frankel to return all originals and copies of all

documents, records, software programs, media and other materials containing any “Confidential

Information” at the termination of his employment. (FAC, Exh. 2). The FAC alleges “Plaintiffs

took reasonable measures to safeguard their Trade Secrets by, among other things, restricting

access to the Trade Secrets, and taking other security measures to protect their confidentiality.”

(FAC ¶¶ 9-10, 21)

       Confidential Information is a defined term within the NDAs and includes:

               (a) technical information concerning Company's products and
               services, including product know-how, formulas, designs, devices,
               diagrams, software code, test results, processes, inventions, research
               projects and product development, technical memoranda and
               correspondence; (b) information concerning Company's business,
               including cost information, profits, sales information, accounting
               and unpublished financial information, business plans, markets and
               marketing methods, customer lists and customer information,
               purchasing techniques, supplier lists and supplier information and
               advertising strategies; (c) information concerning Company's
               employees, including salaries, strengths, weaknesses and
               skills; (d) information submitted by Company's customers,
               suppliers, employees, consultants or co-venture partners with
               Company for study, evaluation or use; and (e) any other information
               not generally known to the public which, if misused or disclosed,
               could reasonably be expected to adversely affect Company's
               business.

 (FAC, Exhs. 1-2).




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       The definition of Confidential Information encompasses the misappropriated information

identified in the FAC. Accordingly, the Hurry Parties have sufficiently alleged the information at

issue is protected, and the Motion should be denied.

       C.      The FAC Sufficiently Describes How And When Frankel Misappropriated
               The Information

       To state a claim for misappropriation, a complaint must include more than conclusory

allegations regarding the defendant’s misappropriation of information. Am. Registry, LLC, 2013

WL 6332971, at *3. However, this does not obligate the plaintiff to allege each specific instance

of misappropriation. Courts are aware that “it is not common for a trade secret misappropriation

plaintiff to know, prior to discovery, the details surrounding the purported misappropriation.” Id.

Consequently, a complaint sufficiently pleads misappropriation if it provides “adequate factual

support” to “inform defendants what they supposedly misappropriated.” Id. For example, in Sentry

Data Sys., Inc. v. CVS Health, No. 18-CV-60257, 2018 WL 7081811, at *10 (S.D. Fla. Aug. 28,

2018), the court held that the complaint sufficiently alleged a claim because it alleged that the

defendants misappropriated information by using confidential customer lists to call customers and

convince them to switch to the defendants’ company. Similarly, in DynCorp Int'l, the complaint

was deemed sufficient because it alleged that the defendant gave his new employer a binder of

plaintiff’s employee lists, salary information, and other emails.2 664 F. App'x at 848.

       Here, the FAC alleges more than enough facts to demonstrate Frankel misappropriated the

Hurry Parties’ information. (FAC, ¶ 24). Among other things, the FAC alleges that, in September

2018, after leaving Alpine, Frankel used the Hurry Parties’ confidential information to:



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 DynCorp is unique because a whistleblower notified the plaintiff that the defendant had and was
using the plaintiff’s material. 664 F. App'x. at 848. Typically, a plaintiff does not learn the
specifics of the misappropriation until after discovery is underway. See Am. Registry, LLC, 2013
WL 6332971, at *3.


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                  -   Solicit capital;
                  -   Establish banking relations;
                  -   Recruit clients of the Hurry Parties, and;
                  -   Compete with the Hurry Parties’ businesses by using their
                      confidential information to make a bid for a broker-dealer in
                      Chicago.

(Id.). Thus, the FAC sufficiently alleges Frankel misappropriated confidential information, and

the Motion should be denied.

V.     THE HURRY PARTIES’ FUTSA CLAIM DOES NOT PRECLUDE THEIR
       FDUTPA CLAIM

       Frankel’s argument that the Hurry Parties’ FUTSA claim precludes their FDUTPA claim

is wrong. The FUTSA displaces “conflicting tort, restitutory, and other law of this state providing

civil remedies for misappropriation of a trade secret,” but does not affect other “civil remedies that

are not based upon misappropriation of a trade secret.” XTec, Inc. v. Hembree Consulting Servs.,

Inc., 183 F. Supp. 3d 1245, 1262–63 (S.D. Fla. 2016) (quoting Fla. Stat. § 688.008).

       Simply stated, the FUTSA would preempt the Hurry Parties’ FDUTPA claim only if

“allegations of trade secret misappropriation alone comprise the underlying wrong” of their

FDUTPA claim. Am. Honda Motor Co. v. Motorcycle Info. Network, Inc., 390 F. Supp. 2d 1170,

1180 (M.D. Fla. 2005).

       That is not the case here. The Hurry Parties’ allege Frankel violated the FUTSA by taking

their confidential information. (FAC, ¶ 24) (“Defendant violated those duties by knowingly

misappropriating and wrongfully using the Hurry Parties’ trade secrets for his own benefit.”).

Their FDUTPA claim is based on what Frankel did with the information; specifically, that he used

the information pertaining to “a common pool of customers and clients, financial institutions, and

investors    in       the    broker-dealer    business”     to     “unfairly   compete    with    the

Hurry Parties.” (FAC, ¶ 28). Because there are material distinctions between the Hurry Parties’


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FUTSA claim and their FDUTPA claim, dismissal on the basis of preemption is not warranted.

See e.g., B & D Nutritional Ingredients, Inc. v. Unique Bio Ingredients, LLC, No. 16-62364-CIV,

2017 WL 8751753, at *3 (S.D. Fla. Feb. 10, 2017); Allied Portables, LLC v. Youmans, No. 2:15-

CV-294-FTM-38CM, 2016 WL 259548, at *4 (M.D. Fla. Jan. 21, 2016); Audiology Distribution,

LLC v. Simmons, No. 8:12-CV-02427-JDW, 2014 WL 7672536, at *10 (M.D. Fla. May 27, 2014)

(finding no FUTSA preemption where “the crux of [tortious interference claim] is not the

misappropriation of trade secrets, but the use of that information to interfere with [plaintiff’s]

business relationships”). Accordingly, the FDUTPA claim is not preempted and the Motion should

be denied.

VI.    IF FRANKEL’S MOTION IS GRANTED, IT SHOULD BE WITH LEAVE TO
       AMEND

       “The grant or denial of an opportunity to amend is within the discretion of the district

court.” Foman v. Davis, 371 U.S. 178, 182 (1962). However, Federal Rule of Civil Procedure

15(a)(2) provides that “[t]he court should freely give leave when justice so requires.” Fed. R. Civ.

Pro. § 15(a)(2). In deference to Federal Rule of Civil Procedure 15(a)(2), courts will generally

grant leave to amend unless the defendant can articulate a substantial reason to deny such relief.

Lytle v. Lowe's Home Centers, Inc., No. 8:12-CV-1848-T-33TBM, 2013 WL 12155009, at *1

(M.D. Fla. July 2, 2013) (reasons to deny leave to amend include “undue delay, bad faith or dilatory

motive on the part of the movant, repeated failure to cure deficiencies by amendments previously

allowed, undue prejudice to the opposing party, and futility of the amendment”).

       If Frankel’s Motion is granted, there is no substantial reason to deny the Hurry Parties leave

to amend their complaint. Leave would not be futile because the Hurry Parties could and would

supplement the FAC with additional allegations regarding (i) the types of information at issue, (ii)




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 the efforts they took to maintain their information’s secrecy beyond requiring NDAs from those

 with access to the information, and (iii) how Frankel misappropriated their information.

        Frankel’s arguments concerning the Hurry Parties’ alleged failure to provide him with

 documentary evidence of their confidential information or his misappropriation must be

 disregarded for several independent reasons. First, Frankel’s argument regarding the Hurry

 Parties’ purported failure to produce evidence in support of their claims is a red herring. Whether

 and what documents the Hurry Parties have produced thus far in discovery is not relevant to their

 ability to amend their complaint. Second, Frankel intentionally omits the fact that the Hurry Parties

 expressly stated in their discovery responses that they will produce documentary evidence as soon

 as the parties enter into a confidentiality agreement. Because this action arises from Frankel’s

 misappropriation of confidential information, the Hurry Parties are justified in limiting certain

 details from the complaint and requiring a confidentiality agreement before they disclose detailed

 confidential information.

 VII.   CONCLUSION

        For the above-mentioned reasons, the Motion should be denied. If the Motion is granted

 in whole or in part, the Hurry Parties respectfully request leave to amend to cure any pleading

 deficiencies.

        Dated this 26th day of March 2019.

                                               /s/ Shane B. Vogt
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 26, 2019, the foregoing document was filed with the
 Court’s CM/ECF system, which will send electronic notice to all counsel of record.
                                             /s/ Shane B. Vogt
                                             Attorney




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